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                       IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF UTAH


  UNITED STATES OF AMERICA,                     CASE NO.      4:21-mj-00001-PK

                     Plaintiff,                 FELONY COMPLAINT

  v.                                            VIOLATION:

  ROXANNA FAE SIMKlNS,                          COUNT I: 21 U.S.C § 84l(a)(l), Possession
                                                of Methamphetamine with Intent to Distribute.
                   Defendant.
                                                Magistrate Judge Paul D. Kohler


       Before United States Magistrate Judge Paul Kohler in the U.S. District Court for the

District of Utah, appeared the undersigned, who, on oath deposes and says:

                                           COUNT!
                                      21 U.S.C § 841(a)(1)
                   (Possession of Methamphetamine with Intent to Distribute)

               On or about December 28, 2020, in the District of Utah,

                                  ROXANNA FAE SIMKINS,

defendant herein, did knowingly and intentionally possess with intent to distribute 50 grams or

more of a mixture or substance containing a detectable amount of methamphetamine, a Schedule
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II controlled substance,as defined in 21 U.S.C. § 812, in violation of21 U.S.C. § 841(a)(l) and

punishable under 21 U.S.C. § 84 l (b )(l )(8).


                   AFFIDAVIT IN SUPPORT OF FELONV COMPLAINT

        I, Brady Wilson, the undersigned affiant state the following is true and correct to the best

of my knowledge and belief:

        l.      I have been a Special Agent of the Drug Enforcement Administration for 11

years. I am charged with the enforcement of the Controlled Substance Act. I am currently

assigned to St. George, Utah. Based on my training and experience as a narcotics agent, I am

familiar with the methods and practices of trafficking in illegal drugs and in the transportation,

concealing, and distribution of those illegal drugs.

        2.      Between September 2020 and December 2020, the Iron/Garfield/Beaver Counties

Narcotics Task Force (lGBTF) used a Confidential Source to conduct multiple controlled

purchases of methamphetamine from Roxanna Fae Simkins, directly out of or closely in

connection with her residence, located on HWY 89 in Panguitch, Utah. As a result of these

controlled purchases, IGBTF Detectives applied for a Utah state search warrant for Simkins'

residence. Utah State District Court Judge Brody L. Keisel granted that warrant on December 27,

2020.

        3.      Officers executed the warrant at Simkins' residence on December 28, 2020.

During a search of the residence, officers located multiple individual bags containing a crystal-

like substance consistent with methamphetamine totaling approximately t .16 pounds (appx. 526

grams). A small sample from one of the bags tested positive for the presence of

methamphetamine. The majority of the methamphetamine was located in Simkins' bedroom

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along with other controlled substances, a large amount of cash, and two handguns.

       4.     Based on my training and experience, I know that 526 grams of

methamphetamine is a distributable amount.

       5.      Based on the foregoing information, I respectfully request that a warrant of arrest

be issued for ROXANNA SIMKINS for a violation of2l U.S.C. § 841(a)(l).


       DATED this     'c,   day of January 2021.



                                                              , Special Agent
                                             Drug Enforcement Administration


SUBSCRIBED AND SWORN TO before me this 8th day of January 2021.




                                             p
                                             Umted States Magistrate Judge

JOHN W. HUBER
United States Attorney
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 JAY WINWARD
         .   Date: 2021.01.07 09:15:13-07'00'


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